Case 2:19-cv-08967-PSG-JC Document 169-2 Filed 07/09/20 Page 1 of 2 Page ID #:3256



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     8                           UNITED STATES DISTRICT COURT
     9                          CENTRAL DISTRICT OF CALIFORNIA
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   11 ALTAIR INSTRUMENTS, INC., a              Case No. 2:19-cv-08967-PSG-JC
      California corporation,
   12                                          DISCOVERY MATTER
                   Plaintiff,
   13                                          [PROPOSED] ORDER GRANTING
            vs.                                PLAINTIFF’S EX PARTE
   14                                          APPLICATION FOR AN ORDER
      TELEBRANDS CORP., etc., et al,           REQUIRING WALMART TO
   15                                          PRODUCE DOCUMENTS BEFORE
                   Defendants.                 DEPOSITION AND EXPERT
   16                                          REPORT
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                                                    [PROP] ORDER GRANTING PLAINTIFF’S
         2118/024004-0037
                                                    EX PARTE APPLICATION FOR WALMART
         15263152.1 a07/09/20                       TO PRODUCE DOCUMENTS
Case 2:19-cv-08967-PSG-JC Document 169-2 Filed 07/09/20 Page 2 of 2 Page ID #:3257



     1             This Court, having reviewed Plaintiff’s Ex Parte Application For An Order
     2 Requiring Walmart to Produce Documents Before Deposition and Expert Report
     3 (the “Application”), arguments of counsel and all other matters presented to the
     4 Court, the Court hereby orders as follows:
     5            1.            Altair’s Application is GRANTED, and the Court orders that Walmart,
     6 Inc. produce all non-privileged documents in response to nos. 1, 2, 3, 10 and 11 of
     7 Altair’s Subpoena to Walmart no later than noon Pacific time on July 13, 2020. The
     8 documents shall be sent electronically to counsel for Altair no later than that date and
     9 time;
   10             2.            Walmart, Inc. is to pay Altair’s attorneys’ fees in the amount of $2,500
   11 within three court days of the date of this Order.
   12              IT IS SO ORDERED.
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   14 Dated: __________________________                            _______________________________
                                                                   Hon. Jacqueline Chooljian
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                                                                      [PROP] ORDER GRANTING PLAINTIFF’S
         2118/024004-0037
                                                                      EX PARTE APPLICATION FOR WALMART
         15263152.1 a07/09/20                                -1-      TO PRODUCE DOCUMENTS
